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Filing# 88318553 E-Filed 04/22/2019 02:08:30 PM



  DIVISION
                                                                                                                         CASE NUMBER
  ø   CIVIL                                         SUMMONS20 DAY CORPORATESERVICE
  D DISTRICTS                                             (a) GENERALFORMS
  D OTHER                                                                                                           13-2019-CA-009499
  PLAINTIFF(S)                                               VS. DEFENDANT(S)                                                   SERVICE
  FLORIDA CARRY, INC.,a                                     CITY OF MIAMI BEACH,
  Florida not for profit corporation,                       FLORIDA, et. al.
  et. al.


  THE STATE OF FLORIDA:

  To Each Sheriff of the State:



                                                                                                                                              o
                                                                                                                                              r
                                                                                                                                              o
                                                                                                                                              o
                                                                                                                                              z"
  Each defendant is required to serve written defense to the complaint or petition on
                     ~~~~~~~~~~~~~~~~~~~~~-
  Plaintiffs Attorney: Eric J.

 whose address is: 1919 Atlantic Blvd., Jacksonville,           FL 32207




 within 20 days " Exce t when suit is brou ht ursuant to s. 768.28 Florida Statutes
 or one of its officials or em lo ees sued in his or her official ca aclt is a defendant the time to res                 :d s
 When suit is brought pursuant to. 768.28, Florida Statutes, the time to respond shall be 30 days." after s~~iceWthis~mmons
 on that defendant , exclusive of the day of service, and to file the original of the defenses with the Clerk of this qeçk   cBJt either before
 service on Plaintiff's attorney or immediately thereafter. If a defendant fails to do so, a default will be entered against that defendant for
 the relief demanded in the complaint or petition

                                                                                                                                DATE
   HARVEY RUVIN                                                                                                           4/24/2019
  CLERK of COURTS




                      AMERICANS WIT                  ILITIES ACT OF 1990
                                         ADA NOTICE
 "If you are a person with a disability who needs any accommodation in order to
 participate in this proceeding, you are entitled, at no cost to you, to the provision of certain
 assistance. Please contact the Eleventh Judicial Circuit Court's ADA Coordinator, Lawson
 E. Thomas Courthouse Center, 175 NW 1st Avenue, Suite 2400, Miami, FL 33128;
 Telephone (305) 349w7175; TDD (305) 349w7174, Email ADA@iudll.flcourts.org; or via
 Fax at (305) 349w 7355, at least seven (7) days before your scheduled court appearance, or
 immediately upon receiving this notification if the time before the scheduled appearance is
 less than seven (7) days; if you are hearing or voice impaired, call 711."
CLK/CT. 314 Rev. 11/18                                                                             Clerk's web address: www.miami-dadeclerk.com
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    Case87073311
Filing# 1:19-cv-22303-KMW    Document
                  E-Filed 03/27         1-1 Entered
                                /2019 04:42:29 PM on FLSD Docket 06/05/2019 Page 3 of 52



             IN THE CIRCUIT COURT, ELEVENTH JUDICIAL CIRCUIT IN AND FOR
                             MIAMI-DADE COUNTY, FLORIDA

                                                       CASE NO.:
                                                       DIV.:

        FLORIDA CARRY, INC., a
        Florida not for profit corporation,
        MICHAEL TAYLOR, an individual,
        STEVEN JENKINS, an individual,
        SEAN DEVINE, an individual,
        CH_RISTOPHER PHILPOT, an individual,
        CARLOS GUITERREZ, an individual,
        JONAH WEISS, an individual,
              Plaintiffs,

        v.

       CITY OF MIAMI BEACH,
       FLORIDA,
       JIMMY L. MORALES, in his official
       and individual capacity,
       DAN OATES, in his official
       and individual capacity,
       OFFICER (FNU) GARCIA, an individual
       OFFICER KENNETH BOLDUC, an individual
       OFFICER GUSTA VO VILLAMIL, an individual
       OFFICER (FNU) RIVERA, an individual
       LT. EDUARDO GARCIA, an individual
       OFFICER ERROL VIDAL, an individual
       OFFICER MANUEL CANO, an individual
       OFFICER JESSICA SALABARRIA, an individual
       OFFICER ROBERT MITCHELL, an individual
       OFFICER NAHAMI BICELIS, an individual
       OFFICER LAVANIEL HICKS, an individual
       OFFICER ELIZABETH VIDAL, an individual

              Defendants
       ------------                      I

                                             ]
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                                             COMPLAINT

           FLORIDA CARR Y, INC., MICHAEL TAYLOR, an mdividual,

    STEVEN JENKINS, an mdividua1, SEAN DEVINE, an individual,

    CHRISTOPI-IBR PHILPOT, an individual, CARLOS GUITERREZ, an individual,

   JONAH WEISS, an individual by and through their undersigned attorneys, sues

   CITY OF MIAMI BEACH, FLORIDA, JIMMY L. MORALES, OFFICER (FNU)

   GARCIA, OFFICER KENNETH BOLDUC, OFFICER GUSTA VOVILLAMIL,

   OFFICER (FNU) RIVERA, LT. EDUARDO GARCIA, OFFICER ERROL

   VIDAL, OFFICER MANUEL CANO, OFFICER JESSICA SALABARRIA,

   OFFICER ROBERT MITCHELL, OFFICER NAHAMI BICELIS, OFFICER

   LA VANŒL HICKS, and OFFICER ELIZABETH VIDAL Defendants, and state


          1         This is an act1011 for damages in excess of$15,000.00, and for

   declaratory and injunctive relief.

          2.    Venue rs proper     111   Miami-Dade County, Florida, as the acts

   complamed of occurred therein and all Defendants' primary places of business are

   located there.




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    PARTIES


             3.   Defendant City of Miami Beach, Florida, ("Miami Beach" or "the

    City") is a local governmental entity created and existing under the laws of the

    state of Florida as a municipality.

            4.    Defendant Jimmy L. Morales, ("Morales"), is the appointed City

    Manager of Miami Beach, and is the appointed chief executive officer of the City

    responsible for the day to day operations, and implementation and enforcement of

    Miami Beach's, policies, rules, regulations, and ordinances by employees of the

    City.

            5.    Defendant Dan Oates, ("Oates"), is the Chief of the Miami Beach

   Police Department and is responsible forday to day operations, and

   implementation and enforcement of Miami Beach Police Department's policies,

   rules, regulations, and ordinances by employees of the City

            6.    Plaintiff, Florida Carry, Inc., ("Florida Carry"), is a Florida not for

   profit corporation existing under the laws of Florida.

            7.    Florida Carry's purpose is to advance the fundamental civil right of all

   Floridians to keep and bear arms for self-defense as guaranteed by the Second

   Amendment to the United States Constitution and the Constitution of Florida's

   Declaration of Rights.




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           8.      Michael Taylor, Steven Jenkins, Sean Devine, Christopher Philpot,

    Carlos Guiterrez, and Jonah Weiss, (collectively "the Citizens" or "fishermen"),

    are all individuals who were attending a Florida Cany sanctioned gathering on

   June 24, 2018 in Miami Beach, Florida.

          9.      Each Officer identified is sued in his or her individual capacity.

           1 O.   Plaintiffs have identified two officers as (FNU), or First Name

   Unknown, followed by the officers last name.

          11.     Plaintiffs have made a good faith attempt to identify the first names of

   officers (FNU) Garcia and (FNU) Rivera but have been unable to do so and will

   request an amendment of the case style as soon as the officers are identified

   through discovery.

          12.     The good faith attempt to more properly identify the two officers

   included an email to the Chief Deputy City Attorney for the City of Miami Beach

   who refused to identify the officers after a request for their first names.

          13.     Officers (FNU) Garcia, Kenneth Bolduc, Gustavo Villamil, (FNU)

  Rivera, EITol Vidal, Manuel Cano, Jessica Salabarria, Robert Mitchell, Nahami

  Bicelis, Lavani el Hicks, Elizabeth Vidal and Lt. Eduardo Garcia, ( co11ectively

  "Officers") were at all times material, police officers employed by the City of

  Miami Beach.




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     FACTS IN COM~10N


            14.     On June 24, 2018, at approximately 10:30 a.m., the fishermen were on

    the pier at South Pointe Park in the city ofMiami Beach.

            15.    A sign at the entrance to the South Pointe Pier promulgates a city

    policy or rule prohibiting firearms on the pier.

           16.     Approximately three weeks prior to the events herein, Plaintiff Philpot

    sent multiple emails to the Florida Fish and Wildlife Conservation Commission

    (FWC) office with jurisdiction over the Miami Beach area, the City Attorney for

   Miami Beach, and-to Defendant Chief Oates.

          17.      A timely response was received from FWC acknowledging that it was

   aware of the relevant statute regarding open carry of firearms while fishing,

   however no response was received from the City Attorney or Oates.

          18.     As a state surrounded on three sides by seawater, and inundated by

   ponds and lakes, the rights of Florida fishermen to bear amis, that have existed

   since before Florida was even a U.S. Territory, should be no surprise to Law

  Enforcement and are undoubtedly clearly established.

         19.      The right to open carry while fishing in Florida has existed in its

  present form and substantially unchanged since 1965.




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             20.      The right to bear arms while fishing has never been illegal in Florida.                          1



             21.      The right to openly carry a firearm while fishing is well established by

      statutory law in Florida. Sec. 790.25(3)(h), Fla. Stat.

             22.     Defendant Officers knew or should have known of the existence of

      Sec. 790.25(3) as it is the very statutory subsection which allows Defendant

      Officers to openly carry a firearm in the performance of their duties as police

      officers. Sec. 790.25(3)(d), Fla. Stat.

             23.     During their interactions with Plaintiffs, Defendant Officers

      incorrectly relied upon the existence of the sign and the language thereon to tell the

      Citizens their conduct was unlawful.

             24.     The sign Defendant Officers used as justification for their actions, was

      null and void under the tenns of Sec. 790.33, Fla. Stat.

            25.      The Citizens were engaged in a lawful fishing expedition.

            26.     All of the Citizens, except Devine, were in possession of lawfully

      carried firearms that were visible to the ordinary sight of others as permitted by

      Sec. 790.25(3)(h), Fla. Stat.

            27.     An unknown employee of Miami Beach, who was a park ranger,

  approached the six fishermen.




  1
    While a license was required to carry a Winchester Repeating Rifle after 1893, or a pistol after 190l, any other
  firearm could be lawfully carried while fishing throughout the history of the State of Florida.
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              28.    The unknown employee of Miami Beach informed the fishermen that

   they were not allowed to openly carry firearms.

           29.       The fishermen informed the unknown employee of Miami Beach that

   they were in compliance with the law and offered a printed copy of the applicable

   statute.

          30.       The unknown employee of Miami Beach stated, "I don't need to see

   your paper".

          31.       After a few minutes of otherwise polite discussion, and two phone

   calls by the unknown employee of Miami Beach, the unknown employee of Miami

   Beach left the area of the Citizens.

          32.        Moments later, four police officers of the Miami Beach Police

   Department (Garcia, Bolduc, Villamil, and Rivera) approached the five fishermen

   who were on the pier (Michael Taylor, Steven Jenkins, Sean Devine, Christopher

   Philpot, and Carlos Guiterrez).

          33.       When the officers approached the fishermen, all five the fishermen

  were engaged in attempting the lawful taking of fish from a state-managed water

  body.

          34.       The four officers gave conflicting commands to the five fishermen

          35.       As one officer shouted at the five fishermen to "get your hands up" he

  irnn1ediately then demanded "get your hands down".


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           36.      The confhctmg commands by the officer while pomting a loaded

     firearm mcreased the fear of the fisherman that a failure to comply with either

     command would result      111   bemg shot.

           3 7.     The officers' unlawful commands to submit to police authority

     interfered with and prevented the lawful takmg of fish by the Citizens in violanon

    ofSec 379.105,Fla Stat

           38       All four officers had firearms drawn.

           39.      Garcia, Villamil, and Rivera all pointed firearms pointed duectly at

    one or more of the five fishermen.

           40       The senior officer on scene, Bolduc, appeared to keep his firearm at a

    "low ready" position in hand rather than pointmg it directly at any particular

    Plamtiff

          41        The police officers then proceeded to seize and handcuff four of the

    fishermen.

          42.       While handcuffing four of the fishermen, all five fishermen on the

    pter were searched and depnved of property.

          43      Immediately followmg the armed assault on the Citizens, more

    officers began arrivmg at the fishmg venue

          44.     Eventually, approximately twenty officers would be present at the

    fishing venue


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            45.   At the time that the firearms were pointed at the fishermen, the

    officers had no reasonable articulable suspicion that any crime had been, was

    being, or was about to be committed.

            46.   While the first four officers were detaining and handcuffing    five of

    the fishermen; a sixth fisherman, Jonah Weiss, arrived at the fishing pier.

            47.   Weiss similarly had firearms pointed at him by officers, Garcia and

    Rivera.

            48.   Garcia handcuffed, disarmed, and searched Weiss.

            49.   After being disarmed by the officers, Weiss was also detained and

   required to move to the location of the other five fishermen.

            50.   At no time during the events complained of herein, did any of the

   fisherman violate any law or regulation of the United States or the State of Florida.

            51.   At no time during the events complained of herein, did any of the

   fishermen violate any valid ordinance of the City of Miami Beach or Miami-Dade

   County.

            52.   After several of the Citizens were handcuffed, all six were required to

   sit down.

            53.   At no time from the pointing of firearms at the six Citizens, until

   approximately two hours and twenty-six minutes later, were the citizens free to

   leave.


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              54.   All five-armed Citizens' firearms were seized by officers of the

    Miami Beach Police Department.

             55     Devme had not previously attended any meetups or events affiliated

    with Florida Carry.

             56     Devine owned firearms

             57     Devme was not      111   possession of any firearms at the time of the events

    complained of herem.

             58.    Devine had come to the pier to fish and to learn about his rights under

    Flonda law.

             59     Devine was uncomfortable carrying a firearm openly because he was

    not fully aware of his rights under Fl onda law.

             60.    Devine attended with the express purpose of learning more about his

    nghts.

             61.    Devine intended to learn more about open can-y and to assemble with

    likeminded individuals    111   an environment where he could expand his knowledge of

    firearms law.

             62     Devme was also present to learn more about Florida Can-y and its

    efforts and to determine whether he should become a member

             63.    Plamtiff Devmes kmfe was seized by officers of the Miami Beach

   Pohce Department


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           64.    Officers also seized other property, including but not limited to,

     lawfully carried knives, ammunition, magazines containing ammunition, and

     individual Plaintiffs' concealed weapons firearms licenses.

           65.    The individuals in handcuffs (Taylor, Jenkins, Guiterrez, and Philpot)

     remained in handcuffs for approximately one hour and eighteen minutes.

           66.    All of the Citizens were detained for approximately two hours and

    twenty-six minutes, including the time they were handcuffed and detained while

    awaiting the return of their property after the removal of handcuffs.

           67.    While the Citizens were detained Defendant Officers engaged in their

    own fishing expedition in an attempt to justify their treatment of Plaintiffs.

           68.    Defendant Officers' fishing expedition was unlawful and resulted in

    multiple violations of Plaintiffs' rights.

           69.    Senior officers on scene sent other officers to look for, and take

    pictures of, any signs prohibiting the possession of firearms on the pier.

          70.    While the Citizens were detained, one or more Defendant Officers

    were directed by another officer to take photographs of all the Citizens' firearms,

    including the serial numbers of the firearms.

          71.    Officers were directed by senior officers to take pictures of any

    concealed weapon firearms licenses that had been seized.

          72.    Defendant Officers searched Plaintiffs' coolers.


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          73.    Defendant Officers verified each Plaintiff's fishing license.

          74.    Defendant Officers verified the Concealed Weapons Firearms License

   for those Plaintiffs in possession of such a license.

          75.    The seizure of the five Plaintiffs' firearms to allow the officers to see

   the serial numbers of the firearms constituted an impermissible search. See,

   Arizona v. Hicks, 480 U.S. 321 (1987).

          76.    Defendant Officers ran the serial number of each firearm possessed by

   Plaintiffs.

          77.    The running of each firearm's serial number constituted a search.

          78.    Defendant Officers access to the serial numbers of the firearms was a

   result of the removal of the lawfully carried firearms from holsters.

          79.    The serial numbers of the firearms were not visible to the Defendant

   Officers until the officers engaged in the unlawful seizure of Plaintiffs firearms.

          80.    Defendant Officers had no reasonable suspicion or probable cause to

   believe that any of the firearms were stolen.

          81.    After Defendant Officers determined that there was no basis for

   detention of Plaintiffs, the handcuffs were taken off the four Citizens that were

   previously handcuffed.

         82.     Even after removal of the handcuffs and determining that that no law

   had been violated, Defendant Officers continued to detain all six Citizens.

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            83.   The continued detention was effective because no officer indicated

     that the six Citizens were free to leave.

           84.    Even if the individuals had been free to leave, Defendant Officers

     continued to detain the property of all six Citizens.

           85.    After the officers had confirmed that no crime had been committed,

     Weiss specifically requested the return of his firearm and was threatened by Lt.

    Garcia with having his phone unlawfully seized as well.

           86.    After release, Defendants required that the Citizens not return to the

    public fishing pier, further interfering with and preventing the lawful taking of fish

    from a state-managed water body.

           87.    The Citizens were all required to open their vehicles, forcing them to

    consent to a partial search of their vehicle under plain view doctrine, as a condition

    of obtaining the return of their property.

           88.    Al] firearms were stripped of ammunition.

           89.    Likewise, all magazines for each Citizen's firearm were removed and

    all ammunition was removed from the magazines and placed in latex gloves;

    leaving the Citizens defenseless and unable to exercise their right to bear arms.

           90.    The Citizens were denied their right to continue fishing on the pier

    and officers refused to give clear guidance as to where they could and could not

    fish if they chose to remain.


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            91.    Officers further intimated that if Citizens returned to fishing, they may

     be disarmed and held again if a "man with a gun" complaint was made to police.

            92.    While he was being detained, one or more officers falsely accused

     Plaintiff Taylor of being intoxicated or smelling of alcoholic beverages.

           93.     The statement by the officer(s) was for the purpose of continuing to

    justify the fishing expedition of the Defendant Officers.

           94.    On or about July 6, 2018 Plaintiffs provided notice of a claim against

    Defendants pursuant to Sec. 776.28, Fla. Stat.

           9 5.   Plaintiffs suffered damages during as a result of the Defendants

    conduct.

           96.    All individual Plaintiffs suffered varying degrees of infliction of

    emotional distress as a result of the Defendants' conduct.

           97.    The emotional distress was a result of having firearms pointed at

    them, being handcuffed, being detained, being detained for an excessive period of

    time, being assaulted, being battered, embarrassment of their public detention,

    having their personal information being entered into police intelligence databases,

    and being deprived of their basic rights as citizens.

          98.     All individual Plaintiffs suffered varying degrees of fear and mental

    anguish as a result of having loaded firearms pointed at them and by being denied

    their fundamental rights and liberty and property interests.


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          99.      All mdividual Plaintiffs were damaged by bemg assaulted and

    battered

           1 OO.   The Citizens were subjected to warrantless searches of their property

    including their coolers, vehicles, and persons

           101     The Citizens were damaged by being denied their nght to assemble    111


   violation of the First Amendment

          102      The Citizens were damaged by being forced to consent to a plain view

   search of their open vehicle as a condition for the return of their unlawfully seized

   property.

          103. The Citizens were damaged by being denied their right to carry a

   loaded firearm for their protection due to Defendants unloading their firearms and

   placing them mto vehicles, and requiring the Citizens wait until Defendant Officers

   departed the area before allowmg the Citizens to exercise their Second Amendment

   and Art I, Sec 8 nghts, as well as their nghts under Sec. 790.25, Fla Stat

          104. Platntiff'Flonda Carry was damaged by interference by Defendants

   with its lawful event and the threat to its members and the associational rights of its

   members

          105. According to a statement by Oates followmg the mcident, "given the

   current climate, if six people show up to a pier in South Beach carrymg guns, our




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     citizens expect us to respond promptly and address any potential danger. We did

     so and I am confident our officers acted appropriately."

            106.     The Mayor of Miami Beach, Dan Gelber (Gelber), similarly stated
                                   •
     that he "very proudly" stands behind the police officers who did "precisely what

     they ought to do."

           107       Gelber derisively stated, "Our court system allows any idiot to file

     anything no matter how asinine. This appears to be one of those instances".

           108       Gelber's statement demonstrates that he also supported and ratified

    the Officers' conduct.

           109. From the very outset of the detention, and weeks prior to the fishing

    trip, Plaintiffs attempted to inform Defendants that Plaintiffs were acting lawfully

           110. Plaintiffs had m their possession copies of the relevant law to

    demonstrate to officers that Plaintiffs had an affirrnative right to engage in the very

    conduct at issue

           111. Defendant Officers initially failed or refused to review the relevant

    statutory law.

          112. When Officers did review the law, they failed to do adequate

    mvesngation or research to properly apply and enforce the relevant well-

    established laws of Fl onda




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   COUNT            1- Violation   of Sec. 790.33 by City of Miami Beach


             Plaintiffs re-allege paragraphs    l through 112 as if set forth in full and further

   allege:


             113. The Legislature has authority to preempt the local regulation of

   firearms as well as any other field not expressly reserved to local authorities. See

   A1i. VIII, Secs. l(f), (lg), 2(b), Fla. Const.

             1 14. Any contrary rule would allow Defendant City to "frustrate the ability

   of the Legislature to set policies for the state." Metro. Dade Cty. v. Chase Fed.

   Haus. Corp, 737 So.2d 494, 504 (Fla. 1999).

             115.      Miami Beach was well aware of the provisions of Sec. 790.33, Fla.

   Stat., on June 24, 2018.

             116. On April 2, 2018, DefendantCity of Miami Beach filed suit in Leon

   County, Florida to have the provisions of790.33, Fla. Stat. declared

   unconstitutional.

             117. Despite the City's and its officials express knowledge of the

   provisions of Sec. 790.33 it continued to violate those provisions on June 24, 2018.

             118. Defendant City specifically alleges in the suit that specifically desired

   to restrict "guns in municipal-owned facilities and parks, the placing of signs

   relating to guns in municipal-owned facilities and parks". (Defendant's Preemption

   Suit at Para. 33; Leon County Case No.: 37-2018-CA-000699).
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           119. Despite its admitted knowledge that it was without authority to restrict

   firearms, or post signs restricting firearms, Defendant City did so anyway.

           120.    Miami Beach has a policy, whether written or unwritten, of detaining

   lawfully armed citizens.

           121. This policy applies regardless of whether the individual is committing

   any violation oflaw.

           122.    City of Miami Beach has a policy, whether written or unwritten, of

   disarming armed citizens during interactions with law enforcement without any

   requisite determination of a particularized danger.

           123.    City of Miami Beach has a policy of prohibiting the lawful possession

   of firearms on the South Pointe Pier by posting sign(s) prohibiting firearms on the

   pier.

           124. By his statement ratifying the conduct of the Officers, Chief Oates

   indicated that the Defendant Officers acted in compliance with department policy

   in detaining and disarming the fishermen on the pier, including handcuffing the

   individuals for an excessive amount of time.

           125. Defendant Officers in this case acted in reliance upon departmental

   policy and the illegal sign( s) prohibiting the possession of firearms on the pier,

   rather than statutory law, to detain the Citizens and deprive them of their legal right

   to bear arms.

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              126.    Law-abiding    citizens, whether armed or unarmed, have a

     constitutional    nght and liberty interest not to be detained without reasonable

     articulable suspicion of a cnme.

              127.    Armed law-abiding    citizens have a constitutional   right not to be

     depnved of their property, even temporarily,       unless there is a reasonable

     articulable suspicion that they are dangerous.

              128.    Being   armed does not necessarily establish the dangerousness of the

     mdividual for the purposes of a Terry stop See Arizona v. Johnson, 555 U.S 323

    (2009).

            129       Miami Beach's policies of detaining and disarming armed citizens is a

    violation of the citizen's constitutional rights

            130. Miami Beach's policies of detaining and disarming armed citizens is a

    policy established contrary to the laws of the State of Florida regardmg firearms

    See, Mackey v. State, 124 So.39 176 (Fla. 2013).

           ] 3]. The City of Miami Beach has a policy of refusmg to return firearms to

    persons who have conurutted no crime except         111   a completely unusable condition.

           132. The return of a firearm m an un] oaded condition renders the firearm

    worthless for purposes of self-defense

           133. Miami Beach's policies resulted in a deprivation of the individual

    Plaintiffs' First Amendment nght to assemble.

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            134      Miami Beach's policies resulting in a depnvation of the Plaintiffs'

    nght of association.

            135. M1am1 Beach's policies resulted ma deprivation of the tndrvidual

    Plamtiffs' right to possess firearms pursuant to Chapter 790, Fla Stat

            136      Miami Beach's policies resulted in a deprivation of the mdividual

    Plaintiffs nght to bear arms in defense of themselves and the lawful authonty of

    the state pursuant to Att I, Sec. 8, Fla. Const

           137. Miami Beach has failed to tram its officers regarding the relevant

    statutory and case law regarding the lawful possession of firearms.

           138. Miami Beach has failed 10 properly tram its officers to read Florida

    state statutes   111   order to understand the rights of citizens to openly carry firearms

    while engaged      111   lawful fishing.

           139.      Defendant City has attempted to enforce a ban on the lawful

    possession of firearms on the South Pointe Pier by contmumg to maintain sign(s)

    that prolnbrts lawful conduct protected by state law,       111   violation of Sec. 790.33.

           140. Defendant Officers as agents of Defendant City enforced Defendant

    City's prohibition on firearms on the South Pointe Pier in reliance upon the signage

    as evidence of Defendant City's pohcy against possession of firearms on the South

    Pomte Pier




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             141.   Defendant Oates and Mayor Gelber both ratified the conduct of the

   officers as being in accordance with the policies of the City of Miami Beach.


             WHEREFORE, the City of Miami Beach has enacted the above set forth

   written and unwritten policies in violation of the statewide preemption for the

   ownership, possession, and transportation of firearms and ammunition. Plaintiffs

   request an award of damages, attorneys' fees, costs, and all other relief deemed just

   and equitable. Additionally, Plaintiffs request declaratory and injunctive relief that

   Defendants have violated Sec. 790.33, Fla. Stat., and prohibiting the Defendants

   from maintaining any policy to detain or disarm law abiding citizens without at

   least reasonable suspicion of criminal activity from regulating the possession of

   firearms in any manner, and from maintaining any sign which purports to ban the

   possession of firearms where it is allowed by state law.

   COUNT 2- Violation of Sec. 790.33, Fla. Stat. by Jimmy Morales

             Plaintiffs re-allege paragraphs 1 through 141 as if set forth in full and further

   allege:


             142.   Jimmy Morales, the City Manager of Miami Beach, Florida, is sued in

   his individual capacity, pursuant to Sec. 790.33, Fla. Stat.

             143.   Jimmy Morales was the City Manager during all of the events and

   occurrences herein.


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           144    As the City Manager, Morales was an appointed official with

    authority over the Officers who detained, disarmed, and otherwise violated the

    rights of the Citizens.

           145    Morales as the City Manager had authority over the conduct of the

    Defendant Officers.

           146.   The acts of the Defendant Officers were withm and under the

   jurisdiction of Morales.

           147    Sec. 790.33(3)(c), Fla. Stat, specifically provides that an official or

    officials may be fined for knowing arid willful violations occurring under their

   junsdiction.

           148    The violations of Sec. 790 33 herein were knowing and willful by the

   individuals who committed the violations.

          149     Morales was an appomted local governmental official under whose

   jurisdiction the knowmg and wi11ful violations set forth in Count 2 occurred.

          150     The Officers who committed the violations knew or should have

   known that they were without authonty to rely on any policy, rule, procedure,

   ordinance or sign promulgated or pubhshed by the City of Miami Beach which m

   any way unpaired the nghts of law-abiding citizens to bear arms in defense of

   themselves or the states




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             151. The Officers knew or should have known that any signs prohibiting

     the possession of firearm or ammunition on a city pier were not legally valid and

     could not be relied upon.

            152. The Officers knew or should have known that any city ordinance

     prohibiting possession of firearms or ammunition was preempted or had been

     repealed.

            153. The Officers knew or should have known that the persons in

     possession of firearms or ammunition while fishing were acting within their lawful

     rights as citizens.

            154. The Officers knew or should have known that they were without

     authority to disarm or detain peacefully and lawfully armed persons acting within

    their rights under state law.

            155. The Officers knew or should have known that persons fishing while

    openly carrying firearms were acting lawfully.

            156. The Officers acted with reckless disregard in disarming lawfully

    armed citizens in violation of their rights under the Florida and U.S. Constitutions.

           157. The Officers recklessly disregarded the rights of the citizens to be

    armed in defense of themselves and the lawful authority of the state by disarming

    the Citizens and leaving them without operable firearms.




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               158.   The violations of the rights of law-abiding gun owners and the

    violation of their right to be armed was in violation of the statewide preemption of

    firearms laws.

               159.   The violations of the rights of the Citizens by the Defendant Officers

    was knowing and willful.

              160. The knowing and willful violations by the Defendant Officers

    occurred under the jurisdiction of Morales his capacity as one of the appointed or
                                                                                            ¡
    elected officials under whose jurisdiction the knowing and willful conduct of the

    officers occurred.


              WHEREFORE, Plaintiffs request a determination that the violations of Sec.

    790.33 by the Defendant Officers was knowing and willful, and that said violations

    occurred under the jurisdiction of Moral es as an appointed local goverrunental

    official under whose jurisdiction the violation occurred, and requests the Court

    asses a civil fine against Morales in the amount of $5,000.00.

    COUNT 3- Violation of Sec. 790.33, Fla. Stat. by Dan Oates

              Plaintiffs re-allege paragraphs 1 through 141 as if set forth in full and further

    allege:


              161.    Dan Oates, the Chief of Police of the Miami Beach Police

    Department, is sued in his individual capacity, pursuant to Sec. 790.33, Fla. Stat.


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            162.    Dan Oates was the Chief of Police of the Miami Beach Police during

   all the events and occurrences       herein.

            163.    As the Chief of Police, Oates was an appointed official with authority

   over the Officers who detained, disarmed, and otherwise violated the rights of the

   Citizens.

           164.     Sec. 790.33(3)( e), Fla. Stat., specifically provides that an official or

   officials may be fined for knowing andJwi1lful violations occurring under their

   jurisdiction.

           165.    The violations of Sec. 790.33 herein were knowing and willful by the

   individuals who committed the violations.

           166.    Oates was an appointed local governmental       official under whose

   jurisdiction    the knowing and willful violations set forth in Count 2 occurred,

           167.    The violations of Sec. 790.33 herein were knowing and willful by the

   individuals who committed the violations.

           168.    Sec. 790.33(3)(c),   Fla. Stat., specifically provides that an official or

   officials may be fined for knowing and willful violations occurring under their

   jurisdiction.

           169.    The Officers who committed the violations knew or should have

   known that they were without authority to rely on any policy, rule, procedure,

   ordinance or sign promulgated        or published by the City of Miami Beach which in


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    any way impaired the nghts of law-abidmg citizens to beat a1111s        111   defense of

    themselves or the states

            170   The Officers knew or should have known that any signs prohibitmg

    the possession of firearm or ammunrtron on a city pier were not legally vahd and

    could not be relied upon

           171. The Officers knew or should have known that any city ordinance

    prolu biting possession of firearms or ammumtion was preempted or had been

    repealed.

           172.   The Officers knew or should have known that the persons in

    possession of firearms or ammunition while fishing were actmg withm their lawful

    rights as citizens.

           173. The Officers knew or should have known that they were without

    authonty to disarm or detam peacefully and lawfully armed persons acting within

    their nghts under state law

           174.   The Officers knew or should have known that persons fishing while

    openly carrying firearms were acting lawfully.

           175    The Officers acted with reckless disregard in disarnung lawfully

    armed citizens   111   violation of their rights under the Florida and U.S Constitutions.




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            176   The Officers recklessly disregarded the nghts of the citizens to be

     armed in defense of themselves and the lawful authonty of the state by disarmmg

     the Cinzens and leavmg them without operable firearms.

            177. The violations of the rights oflaw-abidmg gun owners and the

     violation of their nght to be armed was in violation of the statewide preemption of

     firearms laws.

           178    The violations of the nghts of the Citizens by the Defendant Officers

     was knowmg and willful

           179. Oates ratified the conduct of the Officers by his statement, indicatmg

    hrs fu11 support for the officer's actions.

           180. The knowing and willful violations by the Defendant Officers

    occurred under the jurisdicnon of Oates his capacity as one of the appointed or

    elected officials under whose jurisdicnon the knowmg and willful conduct of the

    officers occurred.

           181. Oates further ratified the conduct of the Defendant Officers by lus

    statements.

          WHEREFORE, Plamnffs request a determination that the violations of Sec.

    790 33 by the Defendant Officers was knowing and willful, and that said violanons

    occurred under the junsdiction of Oates as an appomted local governmental




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   official under whose jurisdiction the violation occurred, and requests the Court

   asses a civil fine against Oates in the amount of $5,000.00


   COUNT 4- Violation of Civil Rights of Devine, Weiss, Guiterrez, and Philpot

   Under Color of Law by Officers Garcia, Bolduc, Villamil, Rivera, Hicks and

   IVIitcheH.


             Plaintiffs re-allege paragraphs 1 through 112 as if set forth in full and further

   allege:


             182. This Count is brought pursuant to 42 U.S.C. Sec. 1983.

             183. Officers, Garcia, Villamil, and Rivera violated the rights of Devine,

   Wiess, Guiterrez, and Philpot (within this Count collectively, "the Citizens"), by

   committing an assault, including the unlawful pointing ofloaded firearms at the

   Citizens.

             184. Officer Bolduc violated the rights of the Citizens by assisting and

   providing cover for Garcia, Villamil, and Rivera while they committed the assault

   on Plaintiffs.

             185. Officer Bolduc instructed and directed the assault that was committed

   on Plaintiffs.




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           186. The assault committed by against Jenkins, Taylor, Devine, Guiterrez

   and Philpot by Garcia, Villamil, and Rivera and directed by Bolduc was without

   legal justification.

           187.   The assault committed against Weiss by Garcia and Rivera was

   without legal justification.

           188.   The battery of Weiss by Garcia was without legal justification.

           189. The deprivation of Weiss's property was without legal justification.

           190. The search of Weiss was without legal justification.

           191.   Officers Garcia violated the rights of Weiss, Guiterrez, and Philpot by

   committing battery on them while handcuffing them.

           192.   Officer Garcia violated the rights of Weiss, Guiterrez, and Philpot by

   depriving them of their property.

           193.   Officer Garcia violated the rights of Weiss, Guiterrez, and Philpot by

   depriving them of their right to bear arms under the Second Amendment.

           194.   Officer Garcia violated the rights of Weiss and Philpot by searching

   them.

           195. Officer Mitchell violated the rights of Devine by searching Devine.

           196. Officer Hicks violated the rights of Guiterrez by searching Guiterrez.

           197.   There was no legal justification for depriving Weiss, Guiterrez, or

   Philpot of their property.


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            198. There was no legal justification for searching Weiss, Guiterrez,

     Philpot, or Devine.

            199. Garcia, Bolduc, Villamil, and Rivera knew or should have known that

     there was no reasonable articulable suspicion on which to base a detention of the

     Citizens.

            200.    Garcia, Bolduc, Villamil, Hicks, Mitchell, and Rivera knew or should

     have known that it was well established that detaining an individual without

     reasonable articulable suspicion of a crime was a violation of the Citizens' rights to

    be free from unlawful search and seizure.

           201.    Garcia, Bolduc, Villamil, Hicks, Mitchell, and Rivera knew or should

    have known that the mere possession of a firearm by a citizen, without more, could

    not form a reasonable articulable suspicion that the citizen was engaged in criminal

    conduct.

           202.    Garcia, Bolduc, Villamil, flicks, Mitchell and Rivera knew of should

    have known that depriving a person of their fundamental right to bear arms without

    reasonable articulable suspicion of criminal activity was a violation of the Citizens'

    right to bear arms.

          203.     Garcia, Bolduc, Villamil, Hicks, Mitchell, and Rivera knowingly or

    with reckless disregard of the rights of the Citizens violated the rights of the

    Citizens under color of their authority.


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                204.         Devine, Weiss, Guiterrez, and Philpot all suffered infliction of

     emotional distress, mental anguish, embarrassment               in addition to the deprivation of

     their constitutional           rights by Garcia, Bolduc, Villamil, and Rivera.

                205.         Garcia, Bolduc, Villamil, and Rivera knowingly or with reckless

     disregard of the rights of Florida Cany, intenupted its event preventing the

     exercise of Florida Cany and its members'               and supporters' rights of freedom of

     association.

               206.          Florida Cany was damaged by the fact that persons might be fearful

    to associate with Florida CaITy out of fear of having firearms pointed at them,

    being detained, and being unlawfully searched.

              207.           Defendant Officers violated Citizens rights to engage in the lawful

    taking of game fish and committed a criminal violation of Florida law in so doing.


              WHEREFORE, Plaintiffs request the Corni award damages for the

    violations of Plaintiffs rights by the Defendant Officers, injuries suffered by

    Plaintiffs, attorneys' fees costs and all other relief deemed just and equitable by the

    Court,


    COUNT 5- Violation of Taylor's Civil Rights under Color of Law by Villamil.

              Plaintiffs re-allege paragraphs l through 112 as if set forth in full and further

    allege:



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          208    This Count is brought pursuant to 42 U.SC Sec 1983.

          209.   Villamil detamed Taylor

          210    V11Iam1] had no legal basts to detam Taylor.

          211.   Villamil placed Taylor m handcuffs.

          212.   Villamil had no legal basis to handcuff Taylor.

          213.   Villamil seized property belongmg to Taylor.

          214.   Villamil had no legal basis to setze Taylor's property.

          215.   Villamil seized Taylor's firearm

          216.   Taylor's     firearm was lawfully carried

          217.   Villamil had no legal basis to disarm Taylor.

          218    Villarml's    seizure of Tayloi 's firearm was   111   violation ofTaylor's

   right to bear arms

          219.   Villamil placed Taylor in handcuffs without any legal justification for

   a detention of Taylor

         220. Duung the battering and handcuffing of Taylor, Villamil used

   excessive force.

         221. At no time did Taylor resist Villamil in any way.

         222. The excessive force used by Villamil resulted in permanent physical

   injury to Taylor.




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               223. The placing of handcuffs on Taylor without any reasonable suspicion,

     much less probable cause, was in and of itself excessive force.

               224.    Additionally, Villamil used more force than was necessary in the

     detention of Taylor who was clearly stating his intent verbally to cooperate with all

     commands of the officers.

              225. The application of this excessive force resulted in permanent injuries

    to Taylor.

              226.    The injury to Taylor resulted in damages for which Officers Villamil

    is liable.


              WHEREFORE Taylor request an award of damages against the

    above-named officer for deprivation of Taylor's rights under color of law, and for

    excessive force resulting in permanent injuries to Taylor, including economic and

    non-economic <lainages, and all other relief deemed just and equitable by the

    Corni.

    COUNT 6- Violation of Jenkins' Civil Rights under Color of Law by Rivera.

              Plaintiffs re-allege paragraphs 1 through 112 as if set forth in full and further

    allege:


              227.    This Count is brought pursuant to 42 U.S.C. Sec. 1983.

              228.    Rivera detained Jenkins.


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          229.   Rivera had no legal basis to detain Jenkins.

          230. Rivera placed Jenkins in handcuffs.

          231.   Rivera had no legal basis to handcuff Jenkins.

          232.   Rivera seized property belonging to Jenkins.

          233. Rivera had no legal basis to seize Jenkins's property.

          234. Rivera seized Jenkins's firearm.

          235.   Jenkins's firearm was lawfully carried.

          236.   Rivera had no legal basis to disarm Jenkins.

          237.   Rivera's seizure of Jenkins's firearm was in violation of Jenkins's

   right to bear arms.

          238.   Rivera placed Jenkins in handcuffs without any legal justification for

   a detention of Jenkins.

          239.   During the battering and handcuffing of Jenkins, Rivera used

   excessive force.

          240.   At no time did Jenkins resist Rivera in any way.

          241.   The excessive force used by Rivera resulted in permanent physical

    injury to Jenkins.

          242.   The placing of handcuffs on Jenkins without any reasonable

    suspicion, much less probable cause, was in and of itself excessive force.




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              243. Additionally, Rivera used more force than was necessary in the

     detention of Jenkins who was clearly stating his intent verbally to cooperate with

    all commands of the officers.

              244. The application of this excessive force resulted in permanent injuries

    to Jenkins.

              245. The injury to Jenkins resulted in damages for which Officer Rivera is

    liable.


              WHEREFORE Jenkins request an award of damages against the

    above-named officer for deprivation of Jenkins's rights under color oflaw, and for

    excessive force resulting in permanent injuries to Jenkins, including economic and

    non-economic damages, and all other relief deemed just and equitable by the

    Corni.

    COUNT 7- Violation of Civil Rights Under Color of Law of all Plaintiffs by

    Officers Garcia, Bolduc, Villamil, Rivera, Er. Vidal, Cano, Salabarria,

    Mitchell, Bicelis, Hicks, El. Vidal and Lt. Eduardo Garcia.


              Plaintiffs re-allege paragraphs l through 112 as if set forth in full and further

    allege:


              246. This Count is brought pursuant to 42 U.S.C. Sec. 1983.




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           247. Plaintiffs were denied their-right to be free and were deprived of their

    l iberty interest by Defendant Officers.

           248.   All Defendant Officers participated in the continued unlawful

    detention of the Citizens after they were placed in handcuffs and searched.

           249. All Defendant Officers violated the liberty interest of the Plaintiffs to

    be free from continued detention and from unlawful search and seizure of their

    property and their persons.

          250. Defendant Officers failed to take sufficient steps to protect Taylor

    from further injury while in their custody, even after repeated attempts by Taylor

   to inform the Officers of the pain he was suffering.

          251. All Defendant Officers had an obligation to take steps to prevent

   further injury to Taylor by protecting him from injury while suffering a custodial

   detention, especially a custodial detention that was illegal from the outset.

          252.    Even after contacting emergency medical services, who were not

   sufficiently trained to diagnosis an injury that might have occurred or be occurring

   at the time, Defendant Officers failed to take any steps to relieve the pain or further

   injury being caused by the placement of the handcuffs.

          253. Defendant Officers knew or should have known that there was no

   reasonable articulable suspicion on which to base a continued detention of the

   Citizens.


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           254. Defendant Officers knew or should have known that it was well

     established that continuing to detain an individual without reasonable articulable

     suspicion of a crime was a violation of the Citizens' rights to be free from unlawful

     search and seizure.

           255. Defendant Officers knew or should have known that the mere

    possession of a firearm by a citizen, without more, could not fonn a reasonable

    articulable suspicion that the citizen was engaged in criminal conduct.

           256. Defendant Officers knew of should have known that depriving a

    person of their fundamental right to bear arms without reasonable articulable

    suspicion of criminal activity was a violation of the citizen's rights to be free from

    unlawful seizure of their property.

          257. Defendant Officers knowingly or with reckless disregard of the rights

    of the Citizens violated the rights of the Citizens under color of their authority.

          258. Defendant Officers knowingly or with reckless disregard of the rights

    of Florida Carry and its members and supporters, interrupted Florida Carry's event

    preventing the exercise of Florida Carry and its members' and supporters' rights of

    freedom of assembly and association.

          259.   Defendant Officers further knowingly or with reckless disregard of

   the rights of Florida Carry and its members and supporters, interrupted its event

   preventing the exercise of Florida Cany and its members' and supporters' rights of


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    freedom of assembly and association by closing the fishing pier until all members

    and supporters of Florida Cany had left South Pointe Park.

             260.   Defendant Officers violated Citizens rights to engage in the lawful

    taking of game fish and committed a criminal violation of Florida law in so doing.


             WHEREFORE,        Plaintiffs request the Court award damages for the

   violations of Plaintiffs rights by the Defendant Officers, injuries suffered by

    Plaintiffs, attorneys'   fees costs and all other relief deemed just and equitable by the

    Court.


    COUNT 8- Violation of Civil Rights under Color of Law by the City of Miami

   Beach

             Plaintiffs re-allege paragraphs   1 through 112 as if set forth in full and further

   allege:


             261.   This Count is brought pursuant to 42 U.S.C. Sec. 1983.

             262. Defendants Morales and Oates are policy makers for the City of

   Miami Beach.

             263.   As the appointed City Manager and appointed police chief

   respectively, they establish rules, procedures, and policies and are responsible for

   the training of Defendant Officers.




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              264    As already set forth, Oates ratified the Defendant Officers'   conduct 111

     this case by his statements as set forth above.

             265     The Mayor of Defendant M1am1 Beach, Dan Gelber, similarly ratified

     the Defendant Officers' actions by his statements as set forth above

             266    Defendants Oates and City ofMia1111 Beach were sent prior notice of

    the legality of fishing while openly carrying firearms to the City Attorney and to

    Oates.

             267.   Despite knowledge of the event and advanced knowledge of Plaintiffs

    mtended conduct, Defendant failed to take any action to properly mform its

    officers of the event that was to be held

             268.   Defendants knew or should have known of a prior instance in Florida

    where the City of Tampa's police officers illegally detained a fisherman.

             269. Defendants knew or should have known that in a prior similar

    instance in Tampa, officers improperly detained a fisherman who was open

    carry mg

          270       Defendants knew or should have known that police officers for the

    City of Tampa improperly issued a trespass warning against a fisherman who was

    openly carrying.




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           271.   Despite knowledge            of the event to be held, Defendant City failed to

    properly train its officers regarding Florida Law regarding the lawful possession of

    firearms by law-abiding        citizens.

          272.    Defendants       failed to properly train officers to read and interpret state

    statutes and case law to determine whether conduct was lawful or unlawful.

          273.    Based on the statement of Oates, the city has a policy of depriving

    persons of their fundamental        individual right to bear arms.

          274.    Defendant allowed its Officers to engage in criminal conduct by

    interfering with the lawful taking of game fish, a protected right under state law, by

    shutting down a city pier in response to lawful fishing activity by armed persons.

          275.    Defendant Cíty allowed its officers acting in reliance upon city policy

   to interfere with Plaintiffs'     lawful freedom of association by closing the pier

   despite no violation of law.

          276.    Defendant City allowed it officers acting in reliance upon city policy

   to interfere with Plaintiffs'     lawful freedom of assembly by closing the pier despite

   no violation of law.

          277.    Defendant City allowed it officers acting in reliance upon city policy

   to interfere with Plaintiffs'     lawful right to bear arms.

          278.    Defendant City allowed it officers acting in reliance upon city policy

   to interfere with Plaintiffs' right to be free of unlawful searches.


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           279. Defendant City allowed it officers acting in reliance upon city policy

    to interfere with Plaintiffs' right to be free of unlawful seizures of their persons.

          280. Defendant City allowed it officers acting in reliance upon city policy

   to interfere with Plaintiffs' right to be free of unlawful seizures of their property.

          281. The City ratified the Defendant Officers' actions by failing to take

   immediate steps to remedy the violations of the Citizens' rights.

          282.    The statements of Mayor Gelber and Defendant Oates demonstrate

   that the officers were acting within the approved policies and procedures of the

   Defendant City of Miami Beach.

          283. The statements of Mayor Gelber and Oates constitute a ratification of

   the Defendant Officers' conduct on behalf of the City of Miami Beach.

          284. The City violated the rights of the Citizens to be free from deprivation

   of their liberty interest.

          285. The City violated the rights of Citizens to be free from unreasonable

   searches and seizures of their persons, their property, and vehicles.

          286. The City violated Plaintiffs' First Amendment rights of free speech,

   assembly, and freedom of association.

          287.   The City violated the Citizens' rights to keep and to bear arms.


          WHEREFORE, Plaintiffs request an award of damages for all injuries

   suffered by the Plaintiffs as a result of the violation of their rights, including

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    physical and emotion injuries, clearing and deleting of all records created by

    Defendants regarding the Plaintiffs to include any records of firearms owned by

    Plaintiffs, deleting of all records regarding allegations that Plaintiffs are sovereign

    citizens including any records transmitted to any other entity of the state of Florida,

    attorneys' fees and costs and all other relief deemed just and equitable by the

    Court,


    COUNT 9- Conspiracy to interfere with civil rights of Plaintiffs, by Defendant

    City of Miami Beach and Defendant Officers Garcia, Bolduc, Villamil, Rivera,

    Er. Vidal, Cano, Salabarria, Mitchell, Bicelis, Hicks, EL Vidal and Lt.

    Eduardo Garcia.

             Plaintiffs re-allege paragraphs l through 112 and paragraphs 182 through

    287 as if set forth in full and further allege:


          288. This action is brought pursuant to Sec. 42 U.S.C. Sec. 1985.

          289. Defendant Officers conspired to deprive both the individual Plaintiffs

   and Florida Cany, of their rights and their equal privileges and immunities under

   the laws.

          290.    Defendant Officers conspired to violate Plaintiffs' First Amendment

   right to assemble.

          291. Defendant Officers conspired to violate Plaintiffs' First Amendment

   right to associate.

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             292. Defendant Officers closed a public venue for no reason other than

    their disagreement with the reason the Plaintiffs were assembled.

             293. Defendant Officers desire to restrict Plaintiffs' assembly was content

    based.

             294.   As evidence of the content-based restriction, in weeks prior to the

    violations of Plaintiffs' rights, Defendant City sponsored and hosted a

    demonstration by "March for our Lives". (Miami Beach Resolution 2018-30241)

             295.   March for Our Lives is an organization created to oppose the rights of

    Plaintiffs.

           296. Defendant City waived all special event permit fees, user fees, square

    footage fees, and administrative fees of any kind for their event, authorized the

    solicitation of cash and in-kind solicitations by Gelber and members of the City

   Commission to offset costs.

           297.     The March for our Lives event which the City was a sponsor for

   required the closure of city streets by Defendant City and resulted in a loss of

   revenue to the City.

          298. Defendants conspired to violate Plaintiffs' Second Amendment right

   to bear arms.




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             299. Defendant Officers acting on behalf of Defendant City conspired to

     deprive Plaintiffs of a location where they could lawfully assemble while openly

     bearing arms.

            300. Defendants violated Plaintiffs' expressive speech by engaging in a

     content-based restriction.

            301. Defendants' closing of the pier was intended by Defendants to prevent

    Plaintiffs from expressing and exercising their rights and opinions of which the

    City disapproved as demonstrated by its sponsorship of the March for our Lives

    and its lawsuit to have Sec. 790.33 declared unconstitutional

            302.    Defendant Oates and Mayor Gelber ratified the conduct of the

    Defendant Officers by their statements.

           303.     Plaintiffs were injured as a result of Defendants' conspiracy to violate

    their rights.

           304. Plaintiffs were deprived of their rights and property by Defendants.

           WHEREFORE, Defendants individually and collectively conspired to deny

   the Plaintiffs' First and Second Amendment rights to associate, assemble, and bear

   arms and suffered damages as a result of the conspiracy to deprive Plaintiffs of

   their rights. Plaintiffs request compensation for the deprivation of their rights,

   damages for the ü1i uries suffered, attorneys' fees, costs, and all other relief deemed

   just and equitable.


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    COUNT 10- False Imprisonment of Taylor, Jenkins, Devine, Weiss, Guiterrez,

    and Philpot by Def en dant Officers.


              Plaintiffs re-allege paragraphs J through 112 as if set forth in full and further

    allege:


              305. Defendant Officers Garcia, Villamil, and Rivera, with the assistance

    of Bolduc knowingly and willfully detained the Citizens, at gunpoint

             306.   All Defendants Officers participated in the continued detention of the

    Citizens after they were initially detained.

             307.    Defendant Officers had no legal basis for the detention of the

   Citizens.

             308. The detention of the Citizens was without the Citizens' consent.

             309. The detention of the Citizens was without lawful authority.

             WHEREFORE, Plaintiffs requests an award of damages and all other relief

   deemed just and equitable by the Court.


   COUNT 11- Assault on Taylor, Jenkins, Devine, Weiss, Guiterrez, and Philpot

   by Officers Garcia, Villamil, and Rivera


             Plaintiffs re-allege paragraphs 1 through 112 as if set forth in full and further

   allege:

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              310.   Officer Garcia, Villamil, and Rivera pointed loaded firearms at the

    Citizens.


              311.   The pointing of firearms at the Citizens was an intentional threat to

    inflict injury on the Citizens.

              312.   The presence of Garcia, Villamil, and Rivera's loaded firearms in

    their hands and pointed at the Citizens demonstrated       that the officers had the

    apparent ability to cause harm to the Citizens.

             313.    The Citizens had a reasonable apprehension    of bodily harm, including

    death, due to the pointing of the Officers' loaded firearms.

             314.    The Citizens have all suffered damages as a result of the assault,

   including but not limited to mental anguish, fright


             WHEREFORE,        Plaintiffs requests an award of damages and all other relief


   deemed just and equitable by the Court.


   COUNT 12- Battery on Taylor, Jenkins, Devine, Weiss, Guiterrez, and

   Philpot by Officers Garcia, Villamil, Rivera, Hicks, Mitchell and Bolduc

             Plaintiffs re-allege paragraphs 1 through 112 as if set forth in full and further

   allege:


             315. Officers Garcia, Villamil, Rivera, Hicks, Mitchell and Bolduc

   committed battery on the Citizens.

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            316. Each Citizen was harmfully or offensively contacted by one of the

     identified officers.

            317. Taylor was battered by Villamil

           318. Jenkins was battered by Rivera

           319. Devine was battered by Mitchell

           320.    Weiss was battered by Garcia

           321.    Guiterrez was battered by Garcia and Hicks.

           322.   Philpot was battered by Garcia.

           323.   The Officers had no legal basis to touch any of the Citizens.

           324. Each of the Citizens' was damaged as a result of the harmful and

    offensivs touching by the officers.

          325.    The Citizens all suffered infliction of emotional distress, mental

   anguish, embarrassment, and pain in the commission of the battery by the officers.

          326.    Plaintiffs Taylor, Jenkins, Philpot, and Guiterrez, were further

   battered by placing them in handcuffs for approximately one and one-half hours.

          327. Additionally, Plaintiffs Taylor and Jenkins suffered permanent

   physical injuries as a result of the battery by the above-named officers.


         WHEREFORE, Plaintiffs request an award of damages against the

   Defendants named in this Count, and all other relief deemed just and equitable by

  the Court.

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    COUNT 13- Respondent Superior Liability for Assault, Battery, and False

    Imprisonment of Taylor, Jenkins, Devine, Weiss, Guiterrez, and Philpot

    against City of Miami Beach.


           Plaintiffs re-allege paragraphs 1 through 112 and paragraphs 305-327 as if

    set forth in full and further allege:


           328. At all times material Officers Garcia, Bolduc, Villamil, Rivera, Er.

    Vidal, Cano, Salabarria, Mitchell, Bicelis, Hicks, El. Vidal and Lt. Garcia were

    employees of the City ofMiami Beach.

           329.   At all times material Officers Garcia, Bolduc, Villamil, Rivera, Er.

    Vidal, Cano, Salabarria, Mitchell, Bicelis, Hicks, El. Vidal and Lt. Garcia were
                                                                                          I
    acting within the course and scope of their employment.                               I
           330.   The Officers actions were in the furtherance of the interest of their

    employer.

           331.   The employer had placed a sign prohibiting the possession of firearms

   on the South Pointe Pier.

           332.   Officers Rivera, Garcia, and Villamil acted in reliance upon the sign

   in committing an assault on the Citizens who were fishing on the pier.

           333.   Officers Rivera, Garcia, and Villamil acted in reliance upon the sign

   in handcuffing Taylor, Jenkins, Guiterrez, and Philpot who were fishing on the

   pier.

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              334.    Officers Rivera, Garcia, Hicks, Mitchell, and Villamil acted in

     reliance upon the sign in committing battery on the Citizens who were fishing on

    the pier.

              335. Defendant Officers acted in reliance upon the sign in committing false

    imprisonment on the Citizens who were fishing on the pier.

             336. Defendant Officers acted in reliance upon the sign in refusing to

    return firearms in an operable condition to the Citizens who were fishing on the

    pier.

             337.    The statements by Gelber and Oates ratifying the conduct of the

    Defendant Officers demonstrate that the officers were acting in the course and

   scope of their employment and with the full knowledge of the employer and were

   advancing the employer's interest when undertaking the complained of conduct.

            338. Plaintiffs were damaged by the actions of the employee Officers who

   were acting in the course and scope of their employment.


            WHEREFORE, Plaintiffs request the City of Miami Beach be held liable for

   the actions of the Officers, and for damages for the False Imprisonment, Assault,

   and Battery, against Plaintiffs.


            Plaintiffs demand trial by jury on all issues so triable.

            Dated this 27th day of March 2019


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